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___ PACKAGING CORP. OF AMERICA
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APPEARANCES -- FALLSTAFF B
HILLMAN' IN
HEI
RIST MILL --
, - -- Jer S. Cohen, Esq.
B R RY -- Per Goldger
PS, INC. -- Jerome S. Wald, Es
CORP -- Lawrence Wallner, Es
FRUIT JUICES, INC. -- James B. §S
DOTHAN MANUFACTURING CO. -- Stanley M
URATE METAL WEATHERSTRIP CO. -- Alf
QUE CUTLERY CO. -- Seymour Kurland
PAGE BOY, INC. -- Stephen D. S
CONTAINER CORP. OF AMERI --
ALTON BOX BOARD CO. -=- b
AMERICAN CAN COMPANY --
BROWN COMPANY ~-- David P
BURD & FLETCHER COMP --
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RESPONSE -- Internationa

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TQ MOTION -- MOVANTS -- To add cases B.? through B-
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PEARANCES -- CLD WORLD BAKING CO.; ss :
SURRY, INC. -- Josep .
BOND BAKING COMPANY -="Fdward Mannino

‘CHARMING “SHOPPES OF DELAWARE, INC.

j1- SPONSE -- RUPERT'S CERTI-FRESH FOODS, INC N
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=- TE METAL WEATHERSTRIP CO., INC.

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-D. Ca ., C76#677-LHB
Snyder-Craft Co., Inc., etc. v. A
-D. Ca -, €76-1000-SC
aldorf Bakers, Inc. v. Alton
-D.N.Y. Civ. 2285
erv-Agen Corp. v. Alton Box Bo
-D. Pa., 76-1270
tsy Ross Co., etc. v. Al
»D. Pa, 6-1182

 

Notified counsel, involved

BOARD, ET AL. D. MIN. 4-76-
AL. C.D.CAL 76CV1393.
ET AL. W.D.PA. 76-503
ET AL., D. MINn, 4-76-244
x ARD CO. ET AL. S.D.N.Y.

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OLF DONUTS, INC. V. ALTON BOX BD., E.D.PA. 76-2052

N_ ROYAL CROWN BOTTLING CO., V. ALTON BOX BD., E.D.PA.

a Notified counsel, involved judges
D-15 RANDOLF DOUNTS INC. V. ALTON BOX BD E.D. A. -
D-16 SCRANTON R@¥AL CROWN BOTTLING CO, V. ALTON BOX BD E.D. PA 76-2053
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WEST COAST GROWERS & PACKERS, INC. V. ALTON, C.D.CAL., CV76-2850RMT
ONDITIONAL TRANSFER ORDER FILED TODAY. NOTIFIED COUNSEL
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Jianas Brothers Candy Co., Inc. v.Alton Box Board Co., et al.

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E.D. Pa. 76-3310

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~-24 State of MI. v. Alton, et al.,W.D.MI., G-76-630-Ca5
Notified transferee clerk, transferee
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BRIEF IN OPPOSTTION TO MOTION -- Plaintiffs w/cert. of servi

BE...
18 —§ REPLY BRIEF -- F.N. BURT CO., INC., w/re a , cert. of service

D-26 Pepsi Cola Bottling Co.,of Harl en, TX. v. ton Box Boar

et al., S.D. TEX., Civil Action No. 76- e
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Vv. s, Inc., et al. v. Alton Box Board Co., et al.
nn Civil Action No. Civ-4-77-105
CONDITIONAL TRANSFER ORDER FILED TODAY. NOTIFIED INVOLVED COUNSEL

 

 

D-28 Contract Beverages, Inc., et al v. Alton Box Board Co,,
____ De Minn., Civil Action No. Civ-4277-105
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inc., eta
CV77-1281LEW. -=- CTO filed.
counsel and involved judges.
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C.D. Calif, CV77-1281LEW -- cto final today. No

D-30 The O.M. S tt & Sons Co. v. Alton Box Board Co., et al.,C.D, CA _
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D-30 The O.M. Scott & Sons Co. v. Alton Box Board Co., et al., C.D.

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rporation v. American Can Co., et al.,D.Md.,C.A.No.H78-10

 

 

 

 

 
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JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. 250 -- IN RE FOLDING CARTON ANTITRUST LITIGATION

 

 

 

 

 

 

Date Ref. Pleading Description
4/16/79 CONDITIONAL TRANSFER ORDER FILED TODAY --
B-2 The Mead Corp. v. Alton Box Board Co., et al.,
D.Minn., C.A. No. 4-79-131
E-3 Brown Company v. Alton Box Board Co., et al.,
D.Minn., C.A. No. 4-79-132
NOTIFIED INVOLVED COUNSEL AND JUDGES. (emh )
5/1/79 ‘9 NOTICE OF OPPOSITION -- (E-3) Brown Co. v. Alton Box Board Co.,
4-79-132 -- P1ltf. Brown Co. (ea)

et al., D. Minn., C.A. No.
5/2/79 CONDITIONAL TRANSFER ORDER FINAT, TODAY. (E-2) The Mead Corp.

ve. Alton Box Board Co., et al., D. Minn.,C.A. No. 4-79-1311 --
Notified involved clerks and judges. (ea)

5/3/79 20 REQUEST FOR EXTENSION OF TIME —— Brown Co. -- GRANTED to and
including May 24, 1979. (ea)

5/23/79] 21 MOTION TO VACATE CTO, BRIEF, CERT. OF SVC.--E-3 Brown Co.,
et al., D.Minn,C.A.No. 4-79-132 -- Brown Co. (ea)

HEARING ORDER--setting (E-3 Brown Co.) for hearing to be
held in Boston, Mass. on 6/22/79. (ea)
RESPONSE/BRIEF -- Container Corporation,

w/fcert. of svc. (emh )

WAIVERS OF ORAL ARGUMENT for hearing held 6/22/79 in Boston
Mass. -- International Paper Co.; Federal Paper Board Co.

Inc.; Interstate Folding Box Co.;Schwan's Sales Enter-
prises, Inc.;Eastex Packaging, Incorp.;The A.L. Garber

Co., Inc. (ea)

HEARING APPEARANCES (hearing 6/22/79 in Boston, Mass.) --
Thomas J. Squirer, Esq. for Brown Co.; Robert F. Ward, Esq.
for Certain Defendants. (ea)

TRANSFER ORDER -- transferring E~3 (Brown Co. v. Alton
Box Board Co., et al., D.Minn., No. 4-79-132) -~ to the
Northern District of Illinois under 28 U.S.C. §1407. emh

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JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

 

 

Description of Litigation

MDL DOCKET. NO. 250 -- IN RE FOLDING CARTON ANTITRUST LITIGATION

 

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Consolidation Ordered xx
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of Hearing(s)

Summary Of Panel Action

 

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Name of Transferee Judge HUBERT L. WILL

 

and EDWIN A. ROBSON

 

Transferee District NORTHERN DISTRICT OF ILLINOIS

 

 

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Falstaff Brewing Corp., etc. v.
Alton Box Board Co., et al.
Hillman's Inc., etc. Alton Box
Board Co., et al.

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G. Heileman Brewing Co., Inc.
Alton Box Board Co., et al.

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Grist Mill Co., etc. Alton Box

Board Co., et al.

Ve
Bodines, Inc.,etc. v. St. Regis
Paper Co., et al.

Corey Brothers Bakery, etc. v.
Alton Box Board Co., et al.

Community Shops, Inc., et al. v.
Alton Box Board Co., et al.

Bear Stewart Corp., etc. Vv.
Alton Bax Board Co., et al.

Florida Fruit Juices,
v. Alton Box Board Co.,

Inc., etc.
et al.

Dothan Manufacturing Co. v.
Alton Box Board Co., etal.

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Inc. v. Alton Box Board Co., et al.iLasker 5/25/76

Queen Cutlery Co., etc. v. Alton “IE.D.Pa. 5/25/76
‘Box Board Co., et al. einer

Page Boy,Inc. v. Alton Box Board “\|S.D.Tex |76-H~304 5/25/76 7@ CAATE 9/19/99
7~Co., et al. Singleton

Thompson International, Inc.v. NN.D.ILL | 760934 /'
Alton Box Board Co., et al. LYNCH ot q 7 79

Castcraft Industries, Inc., etc. “| N.D.ILL 76C983 9/19/99
v. Alton Box Board Co., et al. Lynch

Service Bindery Co., Inc. v. Alton |N.p.iInL | 76c1019 | 9/14/74
Box Board Co., et al. Lynch

Charming Shoppes of Delaware, Inc. N.D.ILL | 76C1026 a falr9
et al. v. Alton Box Board Co., Lynch Cae ,

et al.

Old World Baking Co. v. American ~|N.D.ILL | 76C1062
Can Co., et al. Lynch ”

Blue Waters Investment Co. v. “| D. MINN ICiv4-76-117 5/25/76
Alton Box Board Co., et al. Alsop

Surrey, Inc. v. Alton Box Board “D, MINN
Co., et al. Lord

Bond Bakkhgg Co v. Alton Box E.D.Pa. | 76C 752 5/25/76
Board -, et al. Weiner

Sero Shirt Co., et al. v. Alton N S.D.N.¥, 76Civ. 1345
Box Board Co., et al. Weinfeld 5/25/76

Adams Extract Co., Inc., etc. vo N.D.I11L 76C15%H |

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Folding Cartons,
American Can Co.,

Inc., etc.
et al.

Vv.

Clinton Watch Co., et al. v. Alton

Box Board Co., et al.

H. Fishlove & Co., etc. Alton

Box Board Co., et al.

Vv.

Processed Plastic Co., et al. v.

Alton Box Board Co., et al.

U.S.A.
et al.

v. Alton Box Ecard Co.,

Schwan's Sales Enterprises, Inc.
etc. v. Alton Box Board Co., et
al.

Lawrence and Pulaski Bakery, Inc.
v. Alton Box Board Co., et al.
Drexel Ice Cream Co. Alton Box

Board Co., et al.

Vv.

Convenient Systems,Inc. v. Alton
Box Board Co., e tal.

The Hartz Mountain Corp., etc.
v. Alton Box Board Co.,

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Acme Corporate Book, etc. v. Alton
Co., et al.

Modern Dairies, Inc.,
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Inc., v. Alton Box

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Rupert's Certi-Fresh Foods, Inc.,
et al. v. Alton Box Board Co,

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Serv-Agen Corp. v. Alton Box

Board Co., et al. 6~-9-4E

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Board Co., et al. 6-9-FZ

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Snyder-Craft Co., Inc., etc.
Alton Box Board Co., et al.@>

Waldorf Bakers, Inc.
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Leisure Dynamics, gnc. et al. v.
Alton Box Board Co, =f ak,

Arden Farms Distributing Co of
Southern California, etc.,v. St.
Regis Paper Co., et al. ro /7¢
Franchise Services, Inc., etc. v.
Alton Box Board Co., et al./
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Berkley Shirt Co., Inc. v
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Alton Box Board, et “al. a (ap 9b Weiner 32/7 "WCZOl/ 7 q 7

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California Peanut Co. v.Alton Box |N.D. Cal] C76-1454-aAg dosh Tb est 79 Yah drys a. S

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Continental Distlling Corp. v. N.D.1I11|76-C-3548 cut 919/79
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The American Distributing Co., N.D.I11 |76-C-3550 ; seven 919/29
Inc., v. Alton Box Board Co., Will sane a ae

et al.

William Grant & Sons Inc., v. N.D.I11 76-C-3549 Foo o/ 14/99

Alton Box Board Co., et al. Will

Lincoln Bottling Co. v. Alton N.D.I11 {| 76-C-3513 wi gt [Lawrmnn 9/19 /
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Jianas Brothers Candy Co., Inc. AP Mo. //6CV663-W-2

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West Coast Growers § Packers, C.D.Cal mee T1H/'5 . 9/19/79
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D-24 + State of Michigan v. Alton Box Board | W.D.MI.6-76-630-Ca5 YUL 71 174.303 7

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p-25 | virnelson's Bakery, Inc. v. Alton E.D.PA. | 76-3989 fufer

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XYZ-19| Taylor Wine Co., Inc. v. Al&on Box N.D.I11 | 76C4798 mew foe 4/19/79
Board Co., et al.

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XYZ-21] Schenley Industries, Inc.,et al. v. N.D.I11 | 77C217 eee cette 1909/49

Alton Box Board Co., et al.
XY¥Z-22 Sell, Inc., et al. v. Alton Box N.D.I11 | 770497 m_: _:: 799
Board Co., et al. —

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D-29| Pearson Candy Co., Inc., ola. ve |e. cali¢|.cv77-1201nq0 FG/ 1477-2195 | 5/24/92 .
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X¥Z-32+ Carnivale Bag Co... Inc... ALbon Box LN DvL14-+F-7EEE9 8
BuaTa Co. , St™ert.

 

 

 

 

 

 

 

 

 

 
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DOCKET NO. 250  -- _IN RE FOLDING CARTON ANTITRUST LITIGATION.

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Office
Number

District Civil Date of
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F & B Mfg. Co. v. Alton Box Board N.D.I11L | 77-1606
Co., etal.

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Helene Curtis Industries, Inc.’ 7703325
ve. Alton Box Board Co., et al.

 

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Sun-Maid Raisin Growers of Kingsburg,N.D.I1il 770-4545. |
California v. Alton Box Board Co.,etal

Witco Chemical Corp. v. Alton Box N.D.I11{ 77C-4581---}--
Board Co., et al.

Kraft, Inc. v. Alton Box Board Co., N.D.I11. 770-4700 |
et al. —

 

United Foods, Inc., et al. v. Alton [N.D.I11l 78-c-0003
Box Board Co., et al.
The Pillsbury Company, et al. v. N.D. I1U 78-c-0102
Alton Box Board Co., et al. .
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DOCKET NO. 250 -- In re Folding Carton Antitrust Litigation © =P, 44)

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Co., et al. _ Yh AY Harvey

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Jay Foods, Inc. v. Alton Box Board N.D.ILL] 78-c-339*—-
Co., et al.

Washington Beverages, Inc.,et al. v. N.D.ILL. 78-C-159-
Alton Box Board Co., et al.

Metro Molding Corp. v. Alton Box N.D.ILL{ 77-c-1144 -
Board Co., et al.

Hart, Schaffner & Marx, et al. v. N.D.IL1, 78-C-2934 J}
Alton Box Board Co., et al.

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Case MDL No. 250 Document1 Filed 05/01/15 Page 16 of 28

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

y JEML FORM 1 -- Continuation Listing of Involved Actions -- p.15
DOCKET N®, 250 -- IN RE FOLDING CARTON ANTITRUST LITIGATION
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E-2 The Mead Corp. v. Alton Box Board D.Minn. |4-79-131 I2. . / /;
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ATTORNEY SERVICE LIST *

 

JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

: DOCKET NO,

250 7" IN RE FOLDING CARTON ANTITRUST LITIGATION

(Coordinating Secretarys appointed J. Will's Pretrial

Order No. 1) (see page 10)

Plaintiff

LIAISON COUNSEL FOR PLAINTIFFS
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JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO.250 -- _IN RE FOLDING CARTON ANTITRUST LITIGATION

 

 

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Plaintiff
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James B. Sloan, Esquire
A Sloan, Bragiel and Connelly
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60602

(A-9)

DOTHAN MANUFACTURING CO. (A-10) .
\ Stanley M.Grossman, Esquire
Pomerantz, Levy, Haudek & Block

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INC. (A-11)

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Pp. _2

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Cincinnati, Ohio 45202

 

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White & Case

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New York, New York 10005

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Howrey & Simon

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DIAMOND INTERNATIONAL CORPORATION
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INTERNATIONAL PAPER COMPANY

 

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James G. Hiering, Esquire

_|Keck, Cushman, Mahin & Cate

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A. L. GARBER CO., INC.

J. Asa Roundtree, Esquire

Debevoise, Plimpton, Lyons
& Gates

299 Park Avenue

New York, New York 10017

 

 

 

 
 

 

ATTORNEY SERVICE LIST b ‘

 

 

 

 

  
  

JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
@ occ: NO, 250. -" IN RE FOLDING CARTON ANTITRUST LITIGATION
Plaintiff Defendant

THOMPSON INTERNATIONAL, INC. B-l1 REXHAM CORPORATION
Edward A. Berman, Esquire Thomas D. Allen, Esquire
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David S. Logan, Esquire aS
228 North LaSalle Street CONSO ATED/PACKAGING CORP. ~~
Chicago, Illinois 60601 Michael Esquire

Antonow

SERVICE BINDERY CO., INC. B-3 ll East Wac Drive - Siote 3000
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' Mintz & Raskin
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Philadelphia, Pennsylvania

INC.

19102

OLD WORLD BAKING CO, B-§
Michael J. Freed, Esquire

Y Anthony C. Valiulis, Esquire
Much, Shelist, Freed, Denenberg

© & Ament
105 West Madison Street
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Cochrane & Bresnahan

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Kirkland & Ellis .

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robeck, Phleger & Harrison

Qne Market Plaza
ea r ‘owe
n Francisco Cc 94105

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- Richard Wachtel, Esquire
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St. Paul, Minnesota 55102
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Minneapolis, Minnesota 55401 Hoom 500
Ghicago, Illinois 60606
~—__—-— — _&
a a L

 

 

 
~__NORTHLAND ALUMINUM PRODUCTS ny.

Plaintiff

BOND BAKING CO. B-8
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Levy

19109

SERO SHIRT CO. B-9
David I. Shapiro, Esquire

Dickstein, Shapiro & Morin
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LAND O'LAKES, INC. p-3
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Cochrane & Bresnahan

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D-2

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Eugene M. Warlich, Esquire

Doherty, Rumble & Butler

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St. Paul, Minnesota 55101

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Francis O. Scarpulla, Esquire
Cooper & Scarpulla

300 Montgomery Street

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p.

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Kirkland & Ellis

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OLINKRAFT, INC.

Collins & Amos

1 North LaSalle Street
Chicago, Illinois 60602

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(#TORNEY LIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

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Xu

 

 

DESCRIPTION OF LITIGATION

LDULKET NO.

250 -- IN RE FOLDING CARTON ANTITRUST LITIGATION

p.5

 

 

No.

Plaintiff

 

 

SNYDER-CRAFT CO., INC. D-5
David B. Gold, Esquire

Paul F. Bennett, Esquire
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Suite 1100

San Francisco, Calif. 94104
WALFORF BAKERS, INC. D-6
Ira Jay Sands, Esquire
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New York, New York 10022

 

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I. J. ENTERPRISES, INC. (D-9)

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LEISURE DYNAMICS, INC., ET AL.

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Curtis D. Forslund, Esquire
Gray, Plant, Mooty & Anderson
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55402

(D-10)

 

ARDEN FARMS DISTRIBUTING CO.
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(D-11)

 

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Roemer & Hamwi

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Del Amo Financial Center
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FRANCHISE SERVICES, INC. (D-12)

 

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Litman, Litman, Harris
& Specter
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Pittsburgh, Penna. 15219
BERKELEY SHIRT CO., INC.
Benedict Wolf, Esquire
Wolf, Popper, Ross, Wolf & ”
Jones
845 Third Avenue
New York, New York

(D-13)

 

10022

GLADYS TEVIS, INC. (D-14)
Schwartz, Alschuler & Grossman
1880 Century Park East

Los Angeles, Calif. 90067

 

RANDOLF DONUTS, INC., ETC. (D=-15)

SCRANTON ROYAL CROWN BOTTLING CO.,
ET AL. (D-16)

David Berger, Esquire

Attorney at Law

1622 Locust Street

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235 Montgomery St.

San Francisco, Calif. 94104

 

 

RY INC. (D-25)

‘WEST COAST GROWERS & PACKERS, INC. McMahon

(D-18)
Edward J. Riordan, Esquire
Conen & Riordan .
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Beverly Hills, California 90201 Collins & Amos
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Chicago, Ill. 60602

adelphia, Pa. 1NL0O3

XIANAS ‘BROTHERS CANDY CO., INC. (D~-19)
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Ni&k C. Spanos, Esq.

 

1125 Grand Ave. P
Kansas W M 64106 o

STATE FISK,CO., INC. Ao- -20)

Dale E. Frd&dericks, £squire
Cynthia H. ae, “Esq.

Radgwick, Det rt,,"Moran & Arnold

. am.
111 Pine St. PEPSI COLA BOTTLING co. (P26)
San Francisco, , *

Richard C. Arroyo,

 

 

OOD FAIR SORES, “NC. (D-21) Price Plaza, Suite 26

’ * tte 855 West Price Road
UMBERLAND /FARMS DARBY, INC. (B-22) es rice Roa
Harold E.fKohn, Esquike

Jerry Sf/Cohen, Esquire ©
i D. Hausfeld, Esq: THE BAKERY, INC., (D-27)

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19103 Nick C. Spanos
. (D-23) 317 Civic Center Dr. W.

Norman_O. Sander; Esquire ae Santa Ana, California 9270]

 

Brownsville, Texas 78520

 

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4200 IDS Center
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- Minneapolis, Minnesota 55402

 

 

 
JPML FORM 4A -~ Continuation
Panel Attorney Service List -- p.

f

DOCKET NO. 250 -. IN RE FOLDING CARTON ANTITRUST LITIGATION

 

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—f-
1a} ity
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Blecher, Collins, & Hoecker dane A. McTaggart, Esquire

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(See Counsel for D-29)

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JPML FORM 4A -- Continuation

Panel Attorney Service List -- p.

DOCKET NO. 250° --* _IN RE FOLDING CARTON..ANTITRUST LITIGATION

 

 

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JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
DOCKET NO. 250 -~- IN RE FOLDING CARTON ANTITRUST LITIGATION '
ao
COMMON PARTY CHECKLIST
NAME OF PARTY NAMED AS PARTY IN FOLLOWING ACTIONS

ONTAINER CORP. OF = a} A= =6 A-7_A-8 A-9 A- A-
RICA .

TON BOX BOARD CO.
RICAN CAN CO.

BROWN CO.

BURD & FLETCHER CO, Bae At

—f D-1l1 D-12 D-

” -”

- -4 A-5 A-6 A-7 A-~
HAMPION INTERNATIONAL B-4. B-5 B- =

— 72 D=11 D-12 D-13 D-1

—_

-7 A-8 A-
CONSOLIDATED PACKAGING

CORP.
EASTEX PACKAGING INC.

HOERNER-WALDORF CORP.

WEYERHAEUSER CO.

1 D-12 D-13D-

— ~

 
POTLATCH CORP.

ERSTATE FOLDING BOX CO.

ACKAGING CORP. OF AMERICA

EDERAL PAPERBOARD CO., INC

» L. GARBER CO., INC.

MICHIGAN CARTON CO.

Aad
AAG

DIAMOND INTERNATIONAL CORP.
B=-1 B=-2
FIBERBOARD CORP.

INTERNATIONAL PAPER CO.

REXHAM CORP.

A-9A-10 A-11 A-13'A-13

D-11 D-1 D-14

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—T D-2.D-3.  D-4
D-11 D- -13 D-14

 

 

 
   

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JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
DOCKET NO. 250 -- IN RE FOLDING CARTON ANTITRUST LITIGATION ' °
dc
COMMON PARTY CHECKLIST
NAME OF PARTY NAMED AS PARTY IN FOLLOWING ACTIONS

       

-~ A- - : -5 A-6 a- -8 A-9
» N. RT MPANY
F. N. BU co = B22 B= Bo 5 —
D-5 D-6 D-7 D-8 4

&

ST REGIS PAPER CO. =i 5

 

 
